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UNITED STATES DISTRICT COURT JS6
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

Case No. SACV 20-00487-JLS (JDEx) Date October 26, 2020

Title Hector Fuentes v. Sunshine Behavioral Health Group LLC

Present: The Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

Melissa Kunig None Reported
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None Present None Present

PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING ACTION ON NOTICE OF
VOLUNTARY DISMISSAL

The Court, having been advised by the Plaintiff that this action has been resolved by a
Notice of Voluntary Dismissal [38], hereby orders this action dismissed with prejudice. The
Court hereby orders all proceedings in the case vacated and taken off calendar.

Initials of Deputy Clerk mku

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